      Case: 1:18-cv-06212 Document #: 10 Filed: 10/16/18 Page 1 of 1 PageID #:76


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Rondevoo Technologies, LLC                     Case Number: 1:18-cv-06212
            v. ZTE (USA) Inc.

An appearance is hereby filed by the undersigned as attorney for:
ZTE (USA) Inc. [Defendant]
Attorney name (type or print): James Ray Wood

Firm: ZTE (USA) Inc.

Street address: 8430 W. Bryn Mawr Ave., Suite 210

City/State/Zip: Chicago, IL 60631

Bar ID Number: 3124415 (Illinois)                          Telephone Number: (972) 765-4081
(See item 3 in instructions)

Email Address: james.wood@zteusa.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                   ✔ Yes              No

Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on October 16, 2018

Attorney signature:            S/ J. Ray Wood
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
